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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-----------------------------------------X
Jacob Weiss,

                                 Plaintiff,            Civil Action No.:_______________

                     v.


Mercantile Adjustment Bureau, LLC                       COMPLAINT AND DEMAND
                                                        FOR TRIAL BY JURY

                                  Defendant.
-----------------------------------------------------------------------------X

     Plaintiff Jacob Weiss (“Plaintiff” or “Weiss”), by and through his attorneys, FREDRICK

SCHULMAN & ASSOCIATES, Attorneys at Law, as and for his Complaint against the

Defendant Mercantile Adjustment Bureau, LLC (“Defendant” or “MERCANTILE”),

respectfully sets forth, complains and alleges, upon information and belief, the following:



                          INTRODUCTION/PRELIMINARY STATEMENT

1.      Plaintiff brings this action for damages and declaratory and injunctive relief arising from

the Defendant’s violation(s) of Sec. 1692 et. seq. of Title 15 of the United States Code,

commonly referred to as the Fair Debt Collection Practices Act (“FDCPA”).



                                                   PARTIES

2.       Plaintiff is a resident of the State of NJ, County of Ocean, residing at 14 Gefen Drive,

Lakewood, NJ 08701.
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3.       Defendant is a collection firm with a principal place of business at 6341 Inducon Drive,

Sanborn, NY 14132, and, upon information and belief, is licensed to do business in the State of

NJ.

4.       MERCANTILE is a “debt collector” as the phrase is defined and used in the FDCPA.



                                 JURISDICTION AND VENUE

5.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. Sec. 1331, as well as 15

U.S.C. Sec. 1692 et. seq. and 28 U.S.C. Sec. 2201. If applicable, the Court also has pendant

jurisdiction over the State law claims in this action pursuant to 28 U.S.C. Sec. 1367 (a).

6.      Venue is proper in this judicial district pursuant to 28 U.S.C. Sec. 1391 (b)(2).



                                  FACTUAL ALLEGATIONS

7.      Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “6” herein with the same force and effect as if the same were set forth

at length herein.

8.      On information and belief, on a date better known to Defendant, Defendant began

collection activities on an alleged consumer debt from the Plaintiff (“Alleged Debt”).

9.      In or around November, 2011, Defendant placed a telephone call to Plaintiff, and left a

message for Plaintiff on Plaintiff’s answering machine (See transcript, attached hereto as Exhibit

“A”).

10.     Said call contained personal and confidential information.
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11.    Said message was an attempt to collect a debt, and it was left on an answering machine

which was played and heard by one or more third parties who each had the right and opportunity

to play same.

12.    Said message was heard, amongst others, by Plaintiff’s brother-in-law, Yechiel Katzman.

13.    The actions of Defendant led to embarrassment, harassment, and disclosure of

confidential information to a third party.

14.    Said actions by Defendant violated 15 U.S.C. §1692b(2) and 15 U.S.C. §1692c(b)

which prohibits communicating to a third party, stating that a consumer owes a debt.

15.    As a result of Defendant’s deceptive, misleading and unfair debt collection practices,

Plaintiff has been damaged.

                                  FIRST CAUSE OF ACTION

                                   (Violations of the FDCPA)

16.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “15” herein with the same force and effect as if the same were set forth at

length herein.

17.    Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff violate

various provisions of the FDCPA, including but not limited to 15 U.S.C. §1692b(2) and 15

U.S.C. §1692c(b).

18.    As a result of Defendant’s violations of the FDCPA, Plaintiff has been damaged and is

entitled to damages in accordance with the FDCPA.
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                                    DEMAND FOR TRIAL BY JURY

19.     Plaintiff demands and hereby respectfully requests a trial by jury for all claims and

issues in this complaint to which Plaintiff is or may be entitled to a jury trial.



                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiff Jacob Weiss demands judgment from the Defendant Mercantile

Adjustment Bureau, LLC as follows:

  A.    For actual damages provided and pursuant to 15 U.S.C. Sec. 1692k(a)(1);

  B.    For statutory damages provided and pursuant to 15 U.S.C. Sec.1692k(2)(A):

  C.    For attorneys’ fees and costs provided and pursuant to 15 U.S.C. Sec. 1692k(a)(3);

  D.    For a declaration that the Defendant’s practices violated the FDCPA; and,

  E.    For any such other and further relief, as well as further costs, expenses and disbursements

       of this action, as this Court may deem just and proper.



Dated: New York, New York
       October 21, 2012
                                                Respectfully submitted,


                                                By: s/ Aryeh L. Pomerantz
                                                       Aryeh L. Pomerantz, Esq.
                                                FREDRICK SCHULMAN & ASSOCIATES
                                                30 East 29TH Street
                                                New York, New York 10016
                                                (212) 796-6053
                                                aryeh@fschulmanlaw.com
                                                Attorneys for Plaintiff
